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 FRC:dp

                        IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA               FILED
        v.                             JAi\! 21 2519   CRIMINAL NO.

CERTAIN PERSON                      KATE BAAK~AN, Clerk
                                   By         Oep. Clerk
                                            ORDER

                AND NOW, this     u!i--    day   ofJ4VU,wo-& , 2019, upon consideration of
the Government's Motion to Impound Information, and accompanying docket papers, and after

balancing the public right of access to court documents with the government's interest in

protecting an ongoing criminal investigation and prosecution, it is hereby

                                          ORDERED

that the within information and accompanying docket papers are IMPOUNDED and to be

retained in the custody of the Clerk of Court until notified by Jennifer Arbittier Williams,

Attorney for the United States, ACting Under Authority Conferred by 28 U.S.C. § 515, that the

defendant has pied guilty, if it occurs before Tuesday, January 29, 2019, or that the government

has been informed that a plea hearing cannot be scheduled before Tuesday, January 29, 2019,

and the information can be unimpounded, except that the Clerk is authorized to disclose to the

attorney for the government the docket number and district court judge assigned to the case, and

the attorney for the government is authorized to disclose the information to the district court

judge assigned to the case.   The Clerk of Court is directed to make no public docket entry of the

sealed documents and motion and order to seal, and to provide copies of all sealed documents

only to Richard P. Barrett, Frank R. Costello, Jr., and Paul L. Gray, Assistant United States
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Attorneys.

               IT IS FURTHER ORDERED THAT, the Clerk is directed upon notice from the

United States Attorney's Office to remove the docket papers hereby impounded and restore the

same to the public docket.

                                          BY THE COURT:


                                          'b1 ;rf7 u~ tt 6.MJ
                                          HONORABLE DAVID R. STRAWBRIDGE
                                          United States Magistrate Judge




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                        IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                          :

        v                             FILED                CRIMINAL NO.

CERTAIN PERSON
                                      JAN 2 2 20)9
                                   KAiE B.'\RKMAN, Clerk
                            By      _ Oeo. Clerk
                          MOTION TO IMPOUND INFORMATION

               The United States of America, by and through its attorneys, Jennifer Arbittier

Williams, Attorney for the United States, Acting Under Authority Conferred by 28 U .S.C. § 515,

for the Eastern District of Pennsylvania, and Frank R. Costello, Jr., and Paul L. Gray, Assistant

United States Attorneys for the District, moves to impound the within documents and in support

of its Motion states as follows:

               1.      The within information, and accompanying docket papers, are documents

which, if made public, would jeopardize the government's interest in protecting an ongoing

criminal investigation and prosecution.

               2.      Although the public has a common law right of access to judicial

proceedings and papers, matters relating to protecting an ongoing criminal investigation and

prosecution are traditionally conducted ex parte and in camera, with deference to the

government's determination that the information should be sealed.

               3.      The defendant named in the within information and his attorneys have

advised the government that the defendant will plead guilty to the information. The defendant

and his attorneys have signed a guilty plea agreement.

               4.      During the investigation of this case, the government learned that at least
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one of the targets of the investigation which resulted in this information, who is a close friend of

the defendant charged in the information, has demonstrated in the past that he is capable of

influencing those around him. The government•has reason to believe that ·if the within

information were made public before the defendant pleads guilty and before the target is

charged, by indictment, which the government anticipates may occur on Tuesday, January 29,

2019, this target, or other subjects and target who are close to him, might try to convince the

defendant not to enter a plea of guilty. The government also realizes that due to circumstances

beyond the control of the government, the parties may not be able to schedule a plea hearing

before January 29, 2019. For these reasons, the government requests that the information be

sealed until after the defendant pleads guilty to the within information, if a hearing can be

scheduled before Tuesday, January 29, 2019. If the government is informed that a plea hearing

cannot be scheduled before Tuesday, January 29, 2019, the government will unseal the

information at that time. Thus, if this motion is granted, the information will not be sealed past

Monday, January 28, 2019, under any circumstance.

               5.      Accordingly, balancing the public's right of access to judicial documents

with the government's interest in not jeopardizing an ongoing criminal investigation and

prosecution, the government respectfully requests that the government's Motion be GRANTED.

The government further requests that the Clerk of Court be directed to make no public docket

entry of the sealed documents and motion and order to seal, and to provide copies of all sealed

documents only to Richard P. Barrett, Frank R. Costello, Jr., and Paul L. Gray, Assistant United

States Attorneys.




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               6.      It is further requested that the information shall be unirnpounded upon

notice of the Jennifer Arbittier Williams, Attorney for the United States, Acting Under Authority

Conferred by 28 U.S.C. § 515, that the defendant has pied guilty to the within infonnation, or the

target has been indicted.

                                      Respectfully submitted,

                                     JENNIFER ARBITTIER WILLIAMS
                                     Attorney for the United States
                                     Acting Under Authority Conferred by 28 U.S.C. § 515




                                     FRANK R. COSTELLO, JR.
                                     PAULL.GRAY
                                     Assistant United States Attorneys




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